
It is ordered and adjudged by this court that the judgment of the said circuit court be, and the same hereby is, modified for the reason that defendant in error should be adjudged to recover herein from plaintiff in error only its proportionate amount of the award of $682.49 rendered by the appraisers, as appears by the record. And, thereupon, this court proceeding to render the judgment which the circuit court of Shelby county should have rendered, it is hereby ordered and adjudged that the judgment of $619.48 so rendered against plaintiff in error herein, be reduced to $153.37, its proportionate amount of the award aforesaid; for which amount of $153.37, together with interest from the 8th day of January, 1907, judgment is hereby rendered against said plaintiff in error.
Shauck, C. J., Price, Summers and Davis, JJ., concur.
